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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHO
                                      EASTERN DIVISION


UNITED STATES OF AMERICA,                          )        Case No. 4:16CR088-29
                                                   )
                 Plaintiff,                        )        Judge Sara Lioi
                                                   )
        vs.                                        )        REPORT AND RECOMMENDATION
                                                   )        OF MAGISTRATE JUDGE
TIFFANY WILLIAMS,                                  )
                                                   )
                 Defendant.                        )        Magistrate Judge Kathleen B. Burke
                                                   )


        Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

Judge Kathleen B. Burke for purposes of receiving, on consent of the parties, the defendant’s offer of

a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

of the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered, the following, along with the transcript or other record of the

proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

concerning the plea of guilty proffered by the defendant.

        1.       On June 13, 2016, the defendant, accompanied by counsel, proffered a plea of guilty

                 to Count 1 of the Indictment.

        2.       Prior to such proffer, the defendant was examined as to her competency, advised of the

                 charge and consequences of conviction, informed that the Federal Sentencing

                 Guidelines are advisory and the Court must consider them but the Court may impose

                 any sentence authorized by law, notified of her rights, advised that she was waiving all

                 her rights except the right to counsel, and, with limited exceptions, her right to appeal,

                 and otherwise provided with the information prescribed in Fed. R. Crim. P. 11.
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                                                    2

        3.       The parties and counsel informed the court about the plea agreement between the

                 parties, and the undersigned was advised that, aside from such agreement as described

                 or submitted to the court, no other commitments or promises have been made by any

                 party, and no other agreements, written or unwritten, have been made between the

                 parties.

        4.       The undersigned questioned the defendant under oath about the knowing, intelligent,

                 and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                 offered knowingly, intelligently, and voluntarily.

        5.       The parties provided the undersigned with sufficient information about the charged

                 offense(s) and the defendant’s conduct to establish a factual basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty to Count 1 of the Indictment be accepted and a finding of guilty be

entered by the Court.

                                                         s/Kathleen B. Burke
                                                   Kathleen B. Burke
                                                   United States Magistrate Judge

Date: June 14, 2016



        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within fourteen (14) days of receipt of this notice. Fed. R. Crim. P. 59. Failure to file objections within

the specified time constitutes a WAIVER of the right to appeal the Magistrate Judge’s recommendation.

Id.
